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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THF., DISTRICT OF llELA`'VARE

In re:                                                         Chapter 1 Z

SFX ENTERTAINMENT,IN(:., et ul.,'                              Lase No. 16-1023 (MFW)

                                                              (Jointly Administered)
                            Reorganized Debtors.


                                       CERTIFICATE OF SERVICE


                  I, Colin R. Robinson, hereby certify that on the 30TH day of October, 2018, I

caused a copy of the following documents) to be served on the individuals on the attached

service lists) in the manner indicated:


                  NOTICE OF THE SFX LITIGATION TRUSTEE'S SECONll
                  OMNIBUS OBJECTION TO CLAIMS -SUBSTANTIVE(BOOKS AND
                  12ECORDS); ~1~TD

                  THE SFX LITIGATION TRUSTEE'S SECOND OMNIBUS OB3ECTION
                  TO CLAIMS -SUBSTANTIVE(BOOS AND It~CORDS).



                                                              /s/ Colin R. Robinson
                                                              Colin K. Robinson(DE Bar No. 5524)


'        The Reorganized Debtors ll1 these Chapter 11 Lases, along with the last four' digits of each Reorganized
Debtor's federal tax identification number, if applicable, are: 430R Acquisition L.LC ('350); Beatport, LLC (l 021);
Core Productions LLC (3613); EZ Festivals, LLC (2693); Flavorus, Inc.(71 L9); ID&T/SFX Mysteryland LLC
(6459); ID&T/SFX North America LLC(5]54); ID&T/SFX Q-Dance LLC (6298); ID&T/SFX Sensation LLC
(6460); ID&T/SFX TomorrowWorld LLC (7238); LETMA Acquisition LLC (0452); Made Event, LLC(1127);
Michigan JJ Holdings LLC (n/a); SFX Acquisition, LLC (1063); SFX Brazil LLC(0047); SP'X Canada Inc.(7070);
SFX Development LLC (2102); SFX EDM Holdings Corporation (2460); SFX Entertainment, Ina (00 7); SFX
Entertainment International, Inc.(2987); SFX Entertainment Inteniational II, Inc.(1998); SFX Intermediate Holdco
II LLC(5954); SFX Managing Member Inc.(2428); SFX Marketing LLC(7734); SFX Platform &Sponsorship
L.LC (9234); SP'X Technology Services, Inc.(0402); SFX/AB Live Eve►it Canada, Inc.(6 22); SFX/AB Live Event
Intermediate Holdco LLC(8004); SFX/AB Live Event LLC(9703); SFX-94 LLC (5884); SFX-Disco Intermediate
Holdco LLC(541); SFX-Disco Operating LLC(541); SFXE IP LLC (0047); SFX-EMC,Inc.(7765); SFX-
Hudson LLC(0047); SPX-IDT I~1.A. Holding II LLC 0860); SFX-LIC Operating LLC(0950); SFX-IDT N.A.
Holding LLC (2428); SFX-Nightlife Operating LLC (4673); SFX-Penyscope LLC (4724); SFX-React Operating
LLC (0584); Spring Awakening, LLC (6390); SFXE Netherlands Holdings Cooperatief U.A.(6812); SFXE
Netherlands Holdings B.V.(6898}. The Reorganized Debtors' business address is 9242 Beverly Boulevard, Suite
350, BeveY•ly Hills, CA 90210.


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SFX 2nd Omnibus Objection to Claims               First Class Mail
Service List                                      Paul Hastings LLP
Case No. 1610238(MFW)                             Christine Dionne, Esquire
Bocumenf No. 221631                               Paul Hastings LLP
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Mary Bushyhead
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1069 Canton Road
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SFX Entertainment, Inc. 2002 Service List         HAND DELITjERY
Case Nn. 16-10238(MFW}                            Attn Bankruptcy Dept
Document No. 205259                               Delaware Dept of Justice
U2 —Interoffice 1VIai1                            820 N French St 6th Fl
14 —Hand Delivery                                 Wilmington, DE 19801
35 —First Class Mail
02 —Foreign First Class                           .HAND DELIVERY
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DOGS DE2052592 76897/001
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